






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00588-CV







George Lee Swift, Appellant


v.


Billie Ruth Baker Swift, Appellee








FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. 94-00583, HONORABLE LORA J. LIVINGSTON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellant George Lee Swift filed a notice of appeal on September 15, 2004.  The
clerk's record was filed with this Court on September 23, 2004.  This Court has been informed by
the court reporter that appellant has not made arrangements for payment for the preparation of the
reporter's record. (1)  Appellant has not filed a brief.  On November 9, 2004, appellant was notified that
his brief was overdue and was given until November 19, 2004, to respond.  See Tex. R. App. P.
38.8(a)(1) (failure to file a brief can result in dismissal for want of prosecution).  The notice
informed appellant that his failure to respond would result in dismissal of the appeal.  To date,
appellant has not responded in any way to that notice.  Accordingly, we dismiss the appeal for want
of prosecution.  Id.; Tex. R. App. P. 42.3(b).



						                                                                                     
						Bea Ann Smith, Justice

Before Justices B. A. Smith, Puryear and Pemberton

Dismissed for Want of Prosecution

Filed:   February 1, 2005



1.   The court reporter informed this Court that she contested appellant's affidavit of inability
to pay costs and that the contest was sustained by the district court.  See Tex. R. App. P. 20.1(e).

